Case 1:97-cr-00355-ELH Document 533 Filed 11/17/21 Page 1 of 4

_- ™ LeU

ecient EAS D __ rrcecn

IN THE UNITED STATES DISTRICT COURT NOV 17 202%
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

BY DISTRICT OF MARYLAND

) :
)
V. ) Criminal No. 1:97-cr-00355-ELH
)
)
JERRY WILLIAMS )

MOTION FOR EXTENSION OF TIME TO REPLY TO UNITED STATES’ RESPONSE
IN OPPOSITION TO DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

COMES Defendant, Jerry Williams (“Williams”), appearing pro se, and files his Motion for
Extension of Time to Reply to United States’ Response in Opposition to Defendant’s Motion for
Compassionate Release, and would show as follows:

PRELIMINARY STATEMENT

As a preliminary matter, Williams respectfully requests that this Court be mindful that pro
se complaints are to be held “to less stringent standards than formal pleadings drafted by lawyers,”
and should therefore be liberally construed. See Clark v. Cartledge, 829 F.3d 303 (4" Cir. 2016);
Estelle v. Gamble, 429 U.S. 97 (1976) (same); and Haines v. Kerner, 404 U.S. 519 (1972) (same).

REASON FOR EXTENSION

The sixteen (16) page sealedUnited States’ Response in Opposition to Defendant’s Motion
for Compassionate Release (“USR”) [Doc. 527] was just received by Williams through the prison
mail. Because the USR was sealed he has not had access to it and the government finally mailed a
copy to him. Moreover, because of the Covid/Delta Virus pandemic the compound at USP Atwater
has had limited movement, many lockdowns and very limited access to the prison law library. As
such, Williams needs to research, prepare and perfect his Reply to the USR. Therefore, he seeks a

thirty (30) day extension of time, up to and including December 13, 2021, to complete his Reply.
Case 1:97-cr-00355-ELH Document 533 Filed 11/17/21 Page 2 of 4

WHEREFORE, premise considered, LaForte prays that the Court grant this motion and
extend his deadline for filing his Reply, up to and including December 13, 2021.

Respectfully submitted,

Dated: November 12, 2021
Je Williams
Reg. No. 00741-748
USP ATWATER
U.S. PENITENTIARY
P.O. BOX 019001
ATWATER, CA 95301

CERTIFICATE OF SERVICE
I hereby certify that on November 12, 2021, I mailed a true and correct copy of the above and
foregoing Motion for Extension of Time to Reply to United States’ Response in Opposition to

Defendant’s Motion for Compassionate Release, postage prepaid, to Kim Yon Oldham, U.S.
Attorney s Office , 36 S. Charles Street, 4th Floor, Baltimore, MD 21201.

JERRY LIAMS
Case 1:97-cr-00355-ELH Document 533 Filed 11/17/21 Page 3 of 4

JERRY ANTONIO WILLIAMS
REG. NO. 00741-748
USP ATWATER
U.S. PENITENTIARY
P.O. BOX 019001
ATWATER, CA 95301
November ___, 2021

 

Ms. Felicia C. Cannon

Clerk of Court .

U.S. District Court eee
District of Maryland = =.
Northern Division — Baltimore NOV 1? 2021

101 West Lombard Street oo
Baltimore, MD 21201-2605 CLERK U's, DISTRICE couni

DISTRICT OF MARYLANE
BY AND Ne pUTY

RE: United States v Laforte
Crim No. 1:97-cr-00355-ELH

Dear Ms. Cannon:

Enclosed please find and accept for filing Movant’s Motion for Extension of
Time to File Reply to Government’s Response to Compassionate Release pursuant
to 18 U.S.C. § 3582(c)(1)(A) and First Step Act of 2018. Please submit this motion
to the Court.

Thank you for your assistance in this matter.

Sincerely,

   
   
  
 

      

U

JERRY ANTONIO WILLIAMS
Appearing Pro Se

      

Encl. as noted
UNITED STATES

Case 1:97-cr-00355-ELH Document 533 Filed 11/17/21 Pa

PRIORITY®

 

 

Ba

POSTAL SERVICE ©

 

MA

IL

 

 

 

 

 

 

   

     

 

 

 

 

 

@ Expected deliv Postar EAT Retail
= Most domestic US POST is apply).*
A
@ USPS Trackin¢ GE ral nations.
rig
@ Limited intern: $8. 70 Origin: 77070
mw When used in 5 he seal
PRIO

*Insurance does no RI Ty MAI L 2 -DAY® he

Domestic Mail Man TO:

** See Internationa’ © Lb 1.90 op | f coverage.

EXPECTED DELIVERY BAY: durraes 1006

FLAT F] s

ONE RATE 1] 101 w
| LOMBARD st

BALTIM
| ORE MD 21201-2605
USPS ae
TRACI TRACKI ie Package Pickup,
i ie QR code.

9505 5 04 4802
| 1316 591
| PS000010UUU1+ 22

 

ge 4of4

FROM:

Jerry A. Williams
Reg. No. 00741- 748

USP ATWATER

U.S. PENITENTIARY
P.O. BOX 019001
ATWATER, CA 95301

 

 

 

 

 

 

 

J OD: le were ..

COM/PICKUP

 

ee

 

Ms. Felicia C. Cannon

Clerk of Court

U.S. District Court

District of Maryland

Northern Division — Baltimore
101 West Lombard Street
Baltimore, MD 21201 -2605

LODGED

 

sth RIG Gr coun
SYLAND |

(>
U
L

This packaging is the property of the U.S. Postal Service® and is provided solely for use in sending Priority Mail® and Priority Mail International® shipr

~~

Misuses may be a violation of federal law. This package is not for resale. EP14F © U.S. Postal Service; May 2020; All rights reserved.
